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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                              )
IN RE: NONJUDICIAL FORFEITURE                 )      MBD. No. 18-mc-91473-NMG
PROCEEDING                                    )

                       UNITED STATES NOTICE OF SETTLEMENT

       The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, hereby notes that it has received a signed settlement agreement

from the Claimant relative to the above-captioned matter, and accordingly, this case may be

closed on the Court’s Docket.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                              By:    /s/ Mary B. Murrane
                                                     MARY B. MURRANE, B.B.O. #644448
                                                     Assistant United States Attorney
                                                     U.S. Attorney=s Office
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                                                     Boston, MA 02210
                                                     (617) 748-3100
Dated: April 3, 2019                                 mary.murrane@usdoj.gov



                                CERTIFICATE OF SERVICE

        I, Mary B. Murrane, Assistant United State Attorney, certify that the foregoing motion
filed through the Electronic Case Filing system, will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing and sent to attorney John L. Calcagni
III.


                                                     /s/ Mary B. Murrane
                                                     MARY B. MURRANE
Dated: April 3, 2019                                 Assistant United States Attorney
